 1                                                     The Honorable Mary Jo Heston
                                                       Chapter 7
 2                                                     Hearing Location: Tacoma Federal Courthouse
 3                                                     Union Station, Courtroom H, 1717 Pacific
                                                       Avenue, Ste 2100, Tacoma, WA 98402-3233
 4                                                     Hearing Date: January 4, 2018
                                                       Hearing Time: 9:00 a.m.
 5                                                     Response Date: December 28, 2017
 6
 7
 8                              UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF WASHINGTON
 9
     In re:                                            Case No.: 17-41711-MJH
10
11   Heather Ann Stewart                               Chapter    7

12            Debtor                                   MOTION FOR RELIEF FROM STAY AND
                                                       MEMORANDUM IN SUPPORT THEREOF
13
14
              COMES NOW, Seterus, Inc. as the authorized subservicer for Federal National Mortgage
15
     Association ("Fannie Mae") (“Creditor”) and moves the Court pursuant to 11 USC §362(d) for
16
17   an Order Terminating the Automatic Stay, allowing Creditor to proceed with any and all
18   contractual and statutory remedies incident to the interest held by virtue of the note and deed of
19
     trust described below and attached as exhibits to this motion and memorandum.
20
21       I. RELEVANT FACTS
22
              A. The Property
23
24            On or about March 1, 2007, Heather Stewart executed a note in favor of First Magnus

25   Financial Corporation, an Arizona Corporation in the original principal amount of $133,600.00
26
     (“Note”). The debt described by the Note is secured by a deed of trust (“Deed of Trust”)
27
     properly recorded and creating a lien against property commonly described as 8305 Cirque Drive
28
29   West Unit 5, University Place, WA 98467 (the “Property”).

     Motion for Relief - 1                                                  McCarthy & Holthus, LLP
     MH# WA-17-136577                                                       108 1st Avenue South, Ste. 300
                                                                            Seattle, WA 98104
                                                                            (206) 596-4856
       Case 17-41711-MJH         Doc 24    Filed 11/30/17     Ent. 11/30/17 14:06:00         Pg. 1 of 5
 1            Creditor is the holder of the Note and thus has standing to enforce the Note pursuant to
 2   RCW §62A.3-301. The Deed of Trust was pledged as incident to the Note and thus, as the
 3
     holder of the Note, Creditor also has the right to enforce the Deed of Trust that follows the note.
 4
              Subsequent to the execution of the Note and Deed of Trust, Debtors have filed for
 5
 6   protection under Chapter 7 of Title 11 of the United States Code.

 7            Upon information and belief, no foreclosure sale is pending as of the date of this motion.
 8
 9
              B. The Debt
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11            As of the date of this motion, Debtor is due for the April 1, 2017 payment.                 The

12   approximate amount owed under the terms of the Note is $138,092.05. This is an approximation
13
     of the lien, including principal balance plus accrued interest, late charges, escrow shortages and
14
     other fees and costs, as allowed under the terms of the Deed of Trust. This estimate is accurate
15
16   as of the date provided to counsel for the Creditor and is intended only for the purposes of this

17   motion. This amount cannot be relied upon for any other purposes, including payoff of the
18   secured debt. A complete, date specific and itemized payoff figure may be obtained from
19
     Movant upon written request to counsel for Creditor.
20
              In addition to the debt owed to creditor there is a lien in favor of Real Time Resolutions
21
22   in the amount of $30,633.00.
23
24
              C. The Value of the Property
25
              The value of the Property as represented in Debtor’s sworn schedules is $120,950.00.
26
27
28
29

     Motion for Relief - 2                                                    McCarthy & Holthus, LLP
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 1       II. ARGUMENT AND AUTHORITY
 2       A. Standing
 3       To prosecute a motion for relief from the automatic stay as to enforcement of a note and
 4   deed, a movant must establish that it has an interest in the note, either as a holder, or as a party
 5   entitled to enforce the note. See In re Veal, 450 B.R. 897 (9th Cir. BAP 2011). In the case at bar,
 6   the declaration and exhibits supporting the motion establish that Creditor is the holder of the
 7   Note and thus has standing to prosecute the present motion.
 8
 9       B. Basis for Relief from Stay
10       Under 11 U.S.C. 362(d)(2), on request of a party in interest, the court shall grant relief from
11   stay if there is no equity in the property and the property is not necessary for an effective
12   reorganization. In the case at bar, after consideration of all liens against the Property including
13   the secured lien of Creditor, the Debtor’s claimed exemptions against the Property, and the costs
14   of liquidation that would be associated with any sale of the Property, there is no equity for the
15   estate. Because the Debtor has filed for protection under the liquidation provisions of Chapter 7,
16   there is no reorganization and thus the Property cannot be argued as necessary for an effective
17   reorganization.
18
19       Under 11 U.S. C. 362(d)(1), on request of a party in interest, the court shall grant relief from
20   the stay for cause, including the lack of adequate protection of an interest in such property.
21   Adequate protection is lacking where there is an insufficient equity cushion in the subject
22   property. In re Mellor, 734 F.2d 1396 (9th Cir. 1984). In the case at bar, considering the value of
23   the Property against the amount owed to Creditor, there is no equity cushion and thus Creditor
24   lacks adequate protection and the stay should be terminated.
25
26       III. RELIEF REQUESTED
27       For the reasons stated above, Creditor requests:
28
              1.        An Order Terminating the Automatic Stay.
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     Motion for Relief - 3                                                    McCarthy & Holthus, LLP
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 1            2.        Alternatively, for an Order requiring adequate protection of Movant's interest in
 2                      the Property.

 3            3.        For such other relief as the Court deems proper.

 4
     Dated: November 30, 2017                        McCarthy & Holthus, LLP
 5
 6                                                   /s/ Lance Olsen
 7                                                   Lance E. Olsen, Esq. WSBA# 25130
                                                     Joseph T. McCormick III, Esq. WSBA# 48883
 8                                                   Attorney for Movant
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     Motion for Relief - 4                                                     McCarthy & Holthus, LLP
     MH# WA-17-136577                                                          108 1st Avenue South, Ste. 300
                                                                               Seattle, WA 98104
                                                                               (206) 596-4856
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 1
 2                                            CERTIFICATE OF SERVICE

 3           On 11/30/2017, I served the foregoing NOTICE OF MOTION FOR RELIEF FROM THE
     AUTOMATIC STAY; MOTION FOR RELIEF FROM AUTOMATIC STAY; DECLARATION IN
 4   SUPORT OF MOTION FOR RELIEF FROM AUTOMATIC STAY AND ALL EXHIBITS SUPORTING
     THE MOTION AND DECLARATION on the following individuals by electronic means through the Court’s ECF
 5   program:

 6             TRUSTEE                              DEBTOR(S) COUNSEL
               Kathryn A Ellis                      Dorothy A. Bartholomew
 7             kae@seanet.com                       assistant@findbankruptcy.com

 8
 9
10            I declare under penalty of perjury under the laws of the United States of America that the foregoing
     is true and correct.
11
                                                                             /s/ Salvador Arroyo
12                                                                           Salvador Arroyo
13
             On 11/30/2017, I served the foregoing NOTICE OF MOTION FOR RELIEF FROM THE
14   AUTOMATIC STAY; MOTION FOR RELIEF FROM AUTOMATIC STAY; DECLARATION IN
     SUPORT OF MOTION FOR RELIEF FROM AUTOMATIC STAY AND ALL EXHIBITS SUPORTING
15   THE MOTION AND DECLARATION on the following individuals by depositing true copies thereof in the
     United States mail, enclosed in a sealed envelope, with postage paid, addressed as follows:
16
               DEBTOR
17             Heather Ann Stewart, 8305 Cirque Drive W. Unit 5, University Place, WA 98467

18             US TRUSTEE
               700 Stewart St Ste 5103, Seattle, WA 98101
19
               OTHER LIEN HOLDER(S)
20             Real Time Resolutions, Attn: Bankruptcy, PO Box 36655, Dallas, TX 75235

21
22            I declare under penalty of perjury under the laws of the United States of America that the foregoing
     is true and correct.
23
                                                                             /s/ Christian Aguilar
24                                                                           Christian Aguilar
25
26
27
28
29
     Certificate of Service - 5                                                       McCarthy & Holthus, LLP
     MH#WA-17-136577                                                                  108 1st Avenue South, Ste. 300
                                                                                      Seattle, WA 98104
                                                                                      (206) 596-4856

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